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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                              NO. CR14-198-RAJ

 9                                 Plaintiff,

10          v.
                                                            DETENTION ORDER
11   DOMINGO VENEGAS-RAMIREZ,
12
                                   Defendant.
13

14   Offense charged:
15          Count 1:       Conspiracy to Distribute Controlled Substances
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     Date of Detention Hearing: August 27, 2015
17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
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            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
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            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
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                    defendant is a flight risk and a danger to the community based on the nature of
22
                    the pending charges. Application of the presumption is appropriate in this case.
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            2.      Defendant is already in custody for another charge.
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            3.      Defendant has stipulated to detention, but reserves the right to contest his
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                    continued detention if there is a change in circumstances.
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 1         4.    There are no conditions or combination of conditions other than detention that

 2               will reasonably assure the appearance of defendant as required or ensure the

 3               safety of the community.

 4         IT IS THEREFORE ORDERED:
 5         (1)   Defendant shall be detained and shall be committed to the custody of the
 6               Attorney General for confinement in a correction facility separate, to the extent
 7               practicable, from persons awaiting or serving sentences or being held in custody
 8               pending appeal;
 9         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
10               counsel;
11         (3)   On order of a court of the United States or on request of an attorney for the
12               government, the person in charge of the corrections facility in which defendant
13               is confined shall deliver the defendant to a United States Marshal for the
14               purpose of an appearance in connection with a court proceeding; and
15         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
16               counsel for the defendant, to the United States Marshal, and to the United States
17               Pretrial Services Officer.
18         DATED this 27th day of August, 2015.
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                                               AJAMES P. DONOHUE
21                                              Chief United States Magistrate Judge

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     DETENTION ORDER
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